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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MEG/JS                                            271 Cadman Plaza East
                                                  Brooklyn, New York 11201



                                                  August 18, 2020

By ECF

The Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:    United States v. Desmonn Beckett, et al.
                     Criminal Docket No. 20-213 (KAM)

Dear Judge Matsumoto:

                The government respectfully submits this letter in opposition to defendant
Desmonn Beckett’s motion for bond in the above-captioned case, which follows the
defendant’s earlier application for release that was presented to and rejected by Chief United
States Magistrate Judge Cheryl L. Pollak. A proffer of the relevant facts, the defendant’s
criminal history and the government’s arguments as to why detention is warranted are set
forth in detail in the government’s June 24, 2020 letter seeking the entry of permanent orders
of detention for the defendant and each of his six co-defendants, which is attached and
incorporated by reference herein. The government now seeks to supplement its original
detention letter by writing to provide additional procedural history and to respond to certain
arguments raised in counsel’s motion filed on August 15, 2020, see ECF Dkt. Entry 81
(“Def. Mtn.”).

                For the reasons set forth below and in the government’s original detention
letter, the government respectfully requests that the Court deny the defendant’s motion, as
Chief Magistrate Judge Pollak properly concluded that the defendant is both a flight risk and
a danger to the community, and that no combination of conditions could secure his
appearance at trial and the safety of the community.

I.     Procedural History

              The defendant was arrested on June 24, 2020, after having been charged by
indictment with Accessory After-The-Fact to Attempted Murder In-Aid-Of Racketeering and
Assault In-Aid-Of Racketeering, in violation of Title 18, United States Code, Section 3. The
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defendant appeared before Chief Magistrate Judge Pollak for arraignment the same day and,
through counsel, sought to be released on a bond secured by five sureties and other
conditions. See ECF Dkt. Entry 25. After hearing oral argument from both parties—and the
recommendation from Pretrial Services that the defendant be detained—Chief Magistrate
Judge denied the defendant’s request and entered a permanent order of detention. See ECF
Dkt. Entry 26 (“Based on the charges, the court finds the bail package insufficient to
overcome the danger to the community posed by def[endant].”). On August 15, 2020, the
defendant filed the instant motion for bond seeking to be released to home detention on a
bond signed by six financially responsible sureties. See Def. Mtn. at 3-4.

II.    Argument
               As set forth at length in the government’s original detention letter, the
defendant poses a danger to the community based on, among other things, the incredibly
serious nature of the charged crime—ferrying a fellow gang member to and from the scene
of carefully calculated attempt to execute a gang rival.

               In support of his motion for release, the defendant argues that the charged
crime is “not a crime of violence and does not involve the use of a firearm.” Def. Mtn. at 2.
These claims are baseless. As courts in this district have recognized, accessory after the fact
to a crime of violence—such as attempted murder—is a crime of violence for purposes of the
Bail Reform Act. See United States v. Cicale, No. 06-CR-285 (NGG), 2006 WL 2252516, at
*3 (E.D.N.Y. Aug. 7, 2006) (“Cicale is charged with accessory after the fact to murder,
which I find to be a ‘crime of violence’ under Section 3156 of the [Bail Reform Act]. . . .
Accessory after the fact to murder by its very definition involves knowledge that the
offender's actions aid in the commission of a violent act.”). 1 The crime the defendant aided
also involved a firearm, which was used in the murder attempt.

               The defendant also wrongly claims that the government’s case is “weak” and
appears to be “lacking in proof of Mr. Beckett’s knowledge that the underlying crime had
been committed.” Def. Mtn. at 2. To the contrary, evidence already provided to the
defendant in discovery offers significant proof that he not only played a critical role in the
shooting, which left the victim paralyzed, but that he did so knowingly.

               For example, cell site evidence for the defendant’s cellphone, obtained
pursuant to a lawfully issued search warrant, reveals that at 9:53 p.m. on June 28, 2018—
approximately one hour before the shooting—the defendant’s cellphone was in the vicinity

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                 The Second Circuit has recently held that the Bail Reform Act’s definition
of “crime of violence” is not void for vagueness under Johnson v. United States, 135 S. Ct.
2551 (2015), and its progeny. See United States v. Watkins, 940 F.3d 152, 159 (2d Cir.
2019), cert. denied, 140 S. Ct. 2584 (2020). Thus, the holding of United States v. Davis, 139
S. Ct. 2319 (2019), that certain inchoate crimes are not crimes of violence for purposes of 18
U.S.C. § 924 is inapplicable.


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of the location in Queens where the shooting occurred. Corresponding surveillance footage
from the area shows that a vehicle consistent in make and color with one registered to the
defendant at the time (hereinafter, the “defendant’s vehicle”) arrived near the scene of the
shooting around that time. Additional footage shows the defendant’s vehicle in
approximately the same location—an access road that abutted a hotel parking lot—an hour
later when the shooter exited the passenger side door, moved stealthily across the parking lot
to where the victim was sitting in a parked car and fired at him repeatedly from a close range.
The shooter then ran back to the defendant’s waiting vehicle, which then drove away.

              This evidence suggests that the defendant lay in wait with the shooter for
approximately one hour before the shooter exited the defendant’s vehicle and sought to end
another man’s life, and that the defendant then fled with the shooter immediately thereafter.
The defendant was not an unwitting participant in this calculated murder attempt. The
defendant’s prior conviction for possessing an illegal firearm and his membership in a gang
of purported “elite assassins”—an identity they embrace with pride—offers further proof of
the danger he poses to the community.

               While the defendant notes that he previously worked for the post office, that
position did not prevent him from being a member of a violent street gang or from
committing the charged offense. Given that he will certainly lose that job upon conviction—
if he has not been fired already—it does even less now to limit his dangerousness or reduce
his incentive to flee.

                When the possibility of violence is so great, even onerous conditions of release
are inadequate to protect the community. See United States v. Kelly, No. 19-CR-286
(AMD), 2020 WL 2528922, at *3 (E.D.N.Y. May 15, 2020) (“Nor are the defendant’s
proposed measures—that he be kept on home confinement and monitored by pretrial
services—sufficient to eliminate the danger to the community.”). That is why the Second
Circuit has repeatedly rejected elaborate bail packages for violent defendants, even ones that
include “home detention and electronic monitoring,” which the Court has explained try to
“replicate a detention facility without the confidence of security such a facility instills. If the
government does not provide staff to monitor compliance extensively, protection of the
community would be left largely to the word of [the defendant] that [he] will obey the
conditions.” United States v. Millan, 4 F.3d 1039, 1049 (2d Cir. 1993) (citation and internal
quotation marks omitted); see also United States v. Orena, 986 F.2d 628, 632 (2d Cir. 1993)
(“electronic surveillance systems can be circumvented by the wonders of science and of
sophisticated electronic technology”) (internal quotation marks omitted); accord United
States v. Dono, 275 F. App’x 35, 37 (2d Cir. 2008) (Sotomayor, J., Livingston, J., and Preska
D.J. (sitting by designation)) (same).




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III.   Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
deny the defendant’s motion for release on bond.

                                                  Respectfully submitted,

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                                                  Acting United States Attorney

                                          By:               /s/
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cc:    The Hon. Kiyo A. Matsumoto (by ECF)
       Clerk of Court (KAM) (by ECF)
       Counsel for Desmonn Beckett (by ECF)




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